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 5   Attorney for Defendant
     Jesus Gonzalez-Ochoa
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 8                              UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA                            Case No. 08-mj-0243 EFB

12                 Plaintiff,                            S T I P U L A T I O N O R D E R
                                                         CONTINUING
13   vs.                                                 PRELIM INARY HEARING AND
                                                         EXCLUDING TIME
14   JESUS GONZALEZ-OCHOA
                                                         Court:       Hon. Gregory G. Hollows
15                 Defendant.                            Time:        2:00 p.m.
                                               /         Date:        April 14, 2010
16

17                 IT IS HEREBY STIPULATED by and between Assistant United States

18   Attorney Jason Hitt, counsel for the plaintiff, United States of America, and defendant Jesus

19   Gonzalez-Ochoa, by and through his counsel John Virga, Esq., that good cause exists to

20   extend the preliminary hearing currently set for April 14, 2010, at 2:00 p.m., to May 19,

21   2010, at 2:00 p.m., pursuant to Federal Rule of Criminal Procedure 5.1(d).

22                 Good cause exists to extend the time for the preliminary hearing within the

23   meaning of Rule 5.1(d) because discovery has been provided to the defense and the parties

24   are engaged in talks regarding a pre-indictment resolution of the case against defendant.

25   All parties agree that a continuance of the preliminary hearing date will not prejudice either

26   of them because a pre-indictment resolution could result in an overall sentencing exposure

27   that is significantly reduced for the defendant. Both counsel believe a resolution on this case

28   may occur within the next month.


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 1                 Counsel further stipulate that an exclusion of time from April 14, 2010, to

 2   May 19, 2010, is appropriate under the Speedy Trial Act because the government has

 3   provided discovery, and has agreed to a draft plea agreement for the defendant. As a result

 4   counsel for both parties believe time should be excluded under Local Code T4 to allow

 5   reasonable time to prepare the defense of the case. 18 U.S.C. section 3161(h)(8)(B)(iv).

 6   Dated: April 14, 2010

 7                                             John E. Virga /s/
                                               _________________________________
 8                                             JOHN E. VIRGA
                                               Counsel for Defendant Jesus Gonzalez-Ochoa
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     Dated: April 14, 2010
10                                             John E. Virga /s/

11                                             JASON HITT
                                               Assistant United States Attorney
12                                             Authorized to sign for Mr. Hitt on 04/13/10

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 1                                            ORDER

 2                 Based upon the representations by counsel and the stipulation of the parties,

 3   IT IS HEREBY ORDERED that:

 4                 [1] The Preliminary Hearing currently scheduled for April 14, 2010, at 2:00

 5   p.m. is VACATED, and continued until May 19, 2010, at 2:00 p.m. pursuant to Federal Rule

 6   of Criminal Procedure 5.1(d);

 7                 [2] The Court further finds that the ends of justice outweigh the best interest

 8   of the public and the defendant in a speedy trial. Accordingly, time under the Speedy Trial

 9   Act shall be excluded through May 19, 2010.

10   Dated: April 14, 2010.

11                                               /s/ Gregory G. Hollows

12                                             Honorable GREGORY G. HOLLOWS
                                               United States Magistrate Judge
13                                             Eastern District of California

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